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FILED

UNITED STATES DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT DENVER, COLORADO

FOR THE DISTRICT OF COLORADO

AUO EU
08-CV-O01738 -
Civil Action No. GREGORY C. LANGHAM
(The above civil action number must appear on all future papers CLERIC
sent to the court in this action. Failure to include this number

may result in a delay in the consideration of your claims.)

MIGUEL FACUNDO,
Plaintiff,
Vv.
LEWISBURGH [sic], PENNSYLVANIA (SPECIAL HOUSING UNIT),

Defendant.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted a Prisoner Complaint. He has failed either to pay the
$350.00 filing fee or to file a Prisoner's Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. § 1915. As part of the court’s review pursuant to
D.C.COLO.LCivR 8.2, the court has determined that the submitted document is
deficient as described in this order. Notwithstanding the deficiencies, the clerk of the
court will be directed to commence a civil action. Plaintiff will be directed to cure the
following if he wishes to pursue his claims. Any papers which the Plaintiff files in
response to this order must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:

(1) X — is not submitted

(2) __ ts missing affidavit

(3) _  _ is missing certified copy of prisoner's trust fund statement for the 6-month

period immediately preceding this filing
(4) __ — is missing required financial information
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(5) _ __—iis missing an original signature by the prisoner

(6) __ is not on proper form (must use the court’s current form)

(4) __ names In caption do not match names In caption ot complaint, petition or
habeas application

(8) _ An original and a copy have not been received by the court.

Only an original has been received.
(9) X other: motion is necessary only if filing fee is not paid in advance.

Complaint, Petition or Application:

(10) _  —_ is not submitted

(11) __ is not on proper form (must use the court’s current form)

(12) xX is missing an original signature by the prisoner

(13) X% — ismissing page nos. 6-8_

(14) uses et al. instead of listing all parties in caption

(15) _  Anoriginal and a copy have not been received by the court. Only an
original has been received.

(16) __ Sufficient copies to serve each defendant/respondent have not been

received by the court.
(17) .X names in caption do not match names in text
(18) other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Plaintiff
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that the clerk of the court mail to the Plaintiff, together
with a copy of this order, two copies of the following forms: Prisoner's Motion and
Affidavit for Leave to Proceed Pursuant to 28 U.S.C. §1915; Prisoner Complaint. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the
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action will be dismissed without further notice. The dismissal shall be without prejudice.

AQ Nt

DAIED at Denver, Colorado, this _|_ day of , 2008.

BY THE COURT:

—
Cc B.“SHAFFER
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08 na CV = Q 1 73 8

Miguel Angel Facundo- Guzman
Reg. No. 07603-010

USP - Lewisburg

PO Box 1000

Lewisburg, PA 17837

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. §1915
and Prisoner Complaint forms to the above-named individuals on Lis} lo¥

GREGORY C. LANGHAM, CLERK

By: AINA
\_}Peputy Clerk

